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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


  H’S BAR, LLC,                                     )
                                                    )
                  Plaintiff,                        )
                                                    )
  vs.                                               )   Case No. 20-cv-1134-SMY
                                                    )
  CYNTHIA BERG,                                     )
  MARCHUS D. FRUCHTER,                              )
  BRENDON KELLY,                                    )
  SAINT CLAIR COUNTY SHERIFF’S                      )
  DEPARTMENT, and SAINT CLAIR                       )
  COUNTY HEALTH DEPARTMENT,                         )
                                                    )
                 Defendants.                        )


                               MEMORANDUM AND ORDER

 YANDLE, District Judge:

        Plaintiff H’s Bar, LLC filed the instant lawsuit and alleges that the enforcement of Illinois

 Governor J.B. Pritzker’s executive orders designed to curb the spread of COVID-19 violate its

 constitutional rights. Plaintiff also filed a Motion for Temporary Restraining Order (“TRO”) in

 which it seeks both an ex parte TRO and preliminary injunction (Doc. 15).

        Pursuant to Federal Rule of Civil Procedure 65(b)(1), the Court may only issue a TRO

 without notice to the adverse party if the movant's attorney certifies in writing any efforts made to

 give notice and the reasons why it should not be required. No written certification from Plaintiff's

 counsel accompanied the motion. Accordingly, the Motion for Temporary Restraining Order is

 DENIED.

        Defendants are DIRECTED to file any response to the Motion for Preliminary Injunction

 no later than 4:00 p.m. (CDT) on Thursday, November 12, 2020. The Court will convene a hearing


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 on the Motion for Preliminary Injunction on Friday, November 13, 2020, at 1:30 p.m. via video

 conference before the undersigned Judge. Information regarding the video conference will be sent

 by email to all parties. Full access to this hearing is available remotely. Instructions for non-

 participants to join the hearing are as follows: Call toll free 877-873-8017, when prompted enter

 Access Code 4354777. In light of the public health crisis due to the COVID-19 virus, the Court

 finds that full access to the press and public cannot be afforded for this hearing. Other alternatives

 to closure were considered, but at this time the Court only has the technological capability to allow

 access by teleconference

        Plaintiff shall serve this Order on Defendants immediately.

        IT IS SO ORDERED.

        DATED: November 2, 2020




                                                       STACI M. YANDLE
                                                       United States District Judge




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